Case 2:04-cv-02009-SHI\/|-dkv Document 44 Filed 07/14/05 Page 1 of 2 Page|D 74

UNITED STATES DISTR.ICT COURT HLED BY '~~ D.Q°
WESTERN DISTRICT OF TENNESSEE 05
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CLB§,KU-S.!>fsmcroqm
vIcKIE L. JoNEs, AJQF -"”i *-YHM-HS
Plaintiff,
v- cv. No. 04-2009-Ma
WESLEY NEUROLOGY,
Defendant.
\JTJIIGHM]EBET
Decision. by' Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that this action is dismissed

with prejudice, in accordance with the Order Dismissing Case,
docketed July 12, 2005.

APPRO\W ‘///M’l`

SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 44 in
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Honorable Samuel Mays
US DISTRICT COURT

